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         ORDERED in the Southern District of Florida on October 11, 2022.



                                                   Peter D. Russin, Judge
                                                   United States Bankruptcy Court
_____________________________________________________________________________



                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                     www.flsb.uscourts.gov

         IN RE:                                           Chapter 11 Case

         VITAL PHARMACEUTICALS, INC.,                     Case No.: 22-17842-PDR

               Debtor.
         _____________________________________________/

         IN RE:                                           Chapter 11 Case

         BANG ENERGY CANADA, INC.,                        Case No. 22-1784-PDR

               Debtor.
         _____________________________________________/

         IN RE:                                           Chapter 11 Case

         JHO INTELLECTUAL PROPERTY HOLDINGS,              Case No. 22-17845-PDR
         LLC,

               Debtor.
         _____________________________________________/




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IN RE:                                                             Chapter 11 Case

JHO REAL ESTATE INVESTMENT, LLC,                                   Case No. 22-17847-SMG

      Debtor.
_____________________________________________/

IN RE:                                                             Chapter 11 Case

QUASH SELTZER, LLC,                                                Case No. 22-17848-SMG

      Debtor.
_____________________________________________/

IN RE:                                                             Chapter 11 Case

RAINBOW UNICORN BEV LLC,                                           Case No. 22-17849-SMG

      Debtor.
_____________________________________________/

IN RE:                                                             Chapter 11 Case

VITAL PHARMACEUTICALS INTERNATIONAL                                Case No. 22-17850-PDR
SALES, INC.,

      Debtor.
_____________________________________________/

                           ORDER GRANTING DEBTORS’ EX PARTE
                           MOTION FOR JOINT ADMINISTRATION

         THIS MATTER having come before the Court, without a hearing, upon the Debtors’ Ex

Parte Motion for Joint Administration [ECF No. 7] (the “Motion”)1 filed by Vital

Pharmaceuticals, Inc., Bang Energy Canada, Inc., JHO Intellectual Property Holdings, LLC,

JHO Real Estate Investment, LLC, Quash Seltzer, LLC, Rainbow Unicorn Bev LLC and Vital




1
    Any term not explicitly defined herein shall have the meaning ascribed to it in the Motion.


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Pharmaceuticals International Sales, Inc. (collectively, the “Debtors”)2, pursuant to Bankruptcy

Rule 1015 and Local Rule 1015-1(A)(2)(a). The Motion requests entry of an order authorizing

the joint administration of the bankruptcy cases of the Debtors. The Court finds that (i) it has

jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final

order consistent with Article III of the United States Constitution; (iii) venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; (iv) the relief requested in the Motion is in the

best interests of the Debtors, their estates, their creditors and other parties in interest; (v)

pursuant to Local Rule 1015-1, the Court is authorized to grant the Motion without a hearing at

its discretion; (vi) notice of the Motion was appropriate under the circumstances and no other

notice need be provided; and (vii) upon a review of the record before the Court, including the

legal and factual bases set forth in the Motion and the First Day Declaration, good and sufficient

cause exists for the granting of the relief as set forth herein. Accordingly, it is

         ORDERED that:

         1.     The Motion is GRANTED.

         2.     The above-captioned bankruptcy cases are consolidated for procedural purposes

only and shall be jointly administered. The case of Vital Pharmaceutical, Inc., Case No. 22-

17842-PDR is designated as the “lead case.” Case Nos. 22-17847-SMG, 22-17848-SMG, and

22-17849-SMG are transferred to the undersigned judge.



2
  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the
Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy
Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate
Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
(vii) Vital Pharmaceuticals International Sales, Inc. (8019).


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         3.     A single case docket and court file will be maintained hereafter under the “lead

case” number.

         4.     Hearings in these jointly administered cases shall be joint hearings unless

otherwise specified.

         5.     The style of these jointly administered cases shall be in the style set forth below:

                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION
                                   www.flsb.uscourts.gov

In re:                                                         Chapter 11 Cases

VITAL PHARMACEUTICALS, INC.,                                   Case No. 22-17842-PDR
et al.,
                                                               (Jointly Administered)
                Debtors.
                                                        /

         6.     Pleadings filed in other than the lead case shall be captioned under the lead case

name(s) and case number followed by the words “(Jointly Administered)” and beneath that

caption, the case names and numbers for the cases in which the document is being filed. Claims

filed shall indicate only the case name and number of the case in which the claim is asserted.

Separate claims registers shall be maintained for each case. Ballots shall be styled and filed only

in the case name and number of the member case for which the plan being voted on was filed.

Schedules and the statement of financial affairs shall be styled and filed in the case name and

number of the member case.

         7.     Parties may request joint hearings on matters pending in either of the jointly

administered cases.




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         8.    A docket entry shall be made in each of the Debtors’ cases substantially as

follows:

               An order has been entered in this case directing joint administration of the
               following entities for procedural purposes only: (i) Vital Pharmaceuticals,
               Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property Holdings,
               LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC;
               (vi) Rainbow Unicorn Bev LLC; and (vii) Vital Pharmaceuticals International
               Sales, Inc. The docket of Vital Pharmaceuticals, Inc. (Case No. 22- 17842)
               should be consulted for all matters affecting this case.

         9.    The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Florida shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases.

         10.   Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

         11.   The Debtors in Possession shall not commingle assets or liabilities unless and

until it is determined, after notice and hearing, that these cases involve the same debtor or that

another ground exists to order substantive consolidation of these cases.

         12.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         13.   The Court retains jurisdiction with respect to all matters arising from or related to




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the implementation or interpretation of this Order.

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Submitted by:

Jordi Guso, Esq.
BERGER SINGERMAN LLP
Proposed Local Counsel for Debtors-in-Possession
1450 Brickell Avenue, Ste. 1900
Miami, FL 33131
Telephone: (305) 755-9500
Facsimile: (305) 714-4340
Email: jguso@bergersingerman.com

(Attorney Guso is directed to serve this order upon all non-registered users who have yet to
appear electronically in this case and file a conforming certificate of service.)




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